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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 12-62333-Civ-SCOLA

   JACQUELINE ZENON,

                 Plaintiffs,
   vs.

   COLLECTION RESULTS, INC.,

              Defendant.
  __________________________________/

                         JOINT NOTICE OF MEDIATOR SELECTION

         Pursuant to this Court’s Scheduling Order of February 8, 2013 [D.E. 11], Plaintiff,

  JACQUELINE ZENON (“Plaintiff”), and Defendant, COLLECTION RESULTS, INC.

  (“Defendant”), hereby notify the Court that they have selected W. Jay Hunston, Jr. Esq. as

  mediator in this case. Mediation is scheduled to take place June 27, 2013, at 2:30pm at 101 NE

  3rd Ave., Ste. 1500, Ft. Lauderdale, FL 33301.



                         CONSENT OF COUNSEL FOR DEFENDANT

         Pursuant to Rule 3J (3) of the Administrative Procedures of the United States District

  Court for the Southern District of Florida, the undersigned counsel for Plaintiff represents to the

  Court that counsel for Defendant has authorized him to affix their electronic signature to this

  Joint Discovery Plan and Conference Report.


  /s/Daniel Tam                                               /s/Nicholas T. Gentile
  Daniel Tam, Esq.                                            Nicholas T. Gentile, Esq.
  FBN 60610                                                   FBN 298050
  E-Mail: dtam@cabanaslawfirm.com                             Email: ntgentile@gmail.com
  CABANAS LAW, P.A.                                           Nicholas Gentile, Esq.
  18503 Pines Blvd., Ste. 301                                 1645 SE 3d Ct., Ste. 101
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  Pembroke Pines, FL 33029                                 Deerfield Beach, FL 33441
  Telephone: (954) 447-2580                                Telephone: (954) 755-1000
  Facsimile: (954) 447-2959
  Attorneys for Plaintiff                                  Attorney for Defendant


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
  filed on April 9, 2013 with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties identified on the
  Service List below via transmission of Notices of Electronic Filing generated by CM/ECF and
  U.S. Mail.

  Nicholas Gentile, Esq.
  1645 SE 3d Ct., Ste. 101
  Deerfield Beach, FL 33441
  Service by U.S. Mail and CM/ECF
  Attorney for Defendant Collection Results, Inc.

                                                           CABANAS LAW, P.A.
                                                           Attorneys for Plaintiff
                                                           18503 Pines Blvd., Ste. 301
                                                           Pembroke Pines, FL 33029
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                                                           /s/Daniel Tam
                                                           DANIEL TAM, ESQ.
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                                                           E-Mail: dtam@cabanaslawfirm.com
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 12-62333-Civ-SCOLA

   JACQUELINE ZENON,

                 Plaintiffs,
   vs.

   COLLECTION RESULTS, INC.,

              Defendant.
  __________________________________/




                               ORDER SCHEDULING MEDIATION

  The mediation conference in this matter shall be held with W. Jay Hunston, Jr., Esq. on June 27,

  2013, at 2:30 pm at 101 NE 3rd Ave., Ste. 1500, Ft. Lauderdale, FL 33301.




  ENTERED this ___ day of __________, 20 ___.


                                                             __________________________
                                                             U.S. District Judge



  Copies furnished:
  All counsel of record
